Case:17-20315-EEB Doc#:295 Filed:08/21/18             Entered:08/21/18 10:00:30 Page1 of 2



                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

 In re:
                                                  Chapter 11
 COLORADO NATIONAL BANCORP,
 EIN: XX-XXXXXXX                                  Case No. 17-20315 EEB

          Debtor.
                       NOTICE OF CLOSING OF SALE OF ASSETS

          PLEASE TAKE NOTICE:

         On August 20, 2018, the closing of the sale of 100% of the common stock (the “Equity
 Interest”) of Colorado National Bancorp’s (the “Debtor”) non-debtor subsidiary Colorado
 National Bank pursuant to sections 363 and 365 of the Bankruptcy Code occurred. The sale was
 authorized by the Order Pursuant to U.S.C. §§ 105(a), 363, and 365 and Federal Rules of
 Bankruptcy Procedure 2002, 6004, 6006 and 9014, and Local Rule 6004-1 (I) Approving the
 Sale of the Debtor’s Equity Interest in Nondebtor Subsidiary; (II) Approving the Assumption and
 Assignment of Executory Contracts and Unexpired Leases Related to the Equity Interests; (III)
 Authorizing Consummation of Sale Transaction; and (IV) Granting Related Relief (the “Order”)
 [Dkt. No. 214]. The purchasers were Marks Moskvins and Maksims Jarosveskis and the
 purchase price was $8,965,268.00 which has been received by the Debtor.

 DATED: August 21, 2018.

                                            JACKSON KELLY PLLC

                                            By:     /s/ Steven T. Mulligan
                                                    Steven T. Mulligan, #19901
                                                    Benjamin J. Ross, #49370
                                            1099 18th Street, Suite 2150
                                            Denver, CO 80202
                                            Tel: (303) 390-0003
                                            Fax: (303) 390-0177
                                            smulligan@jacksonkelly.com
                                            bross@jacksonkelly.com

                                            Attorneys for Debtor




 4820-1292-0688.v1
Case:17-20315-EEB Doc#:295 Filed:08/21/18            Entered:08/21/18 10:00:30 Page2 of 2



                                  CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on August 21, 2018, a copy of NOTICE OF
 CLOSING OF SALE OF ASSETS was served via CM/ECF on:

                     James T. Markus            Risa Lynn Wolf Smith

                     Donald D. Allen            Matt Ochs

                     Caroline Fuller            Martin Beeler

                     Matthew Rork               Patrick Hughes

                     Alan Motes                 Andrew Gillespie

                     Alexander Clark            Lars H. Fuller

         Dated: August 21, 2018.                  JACKSON KELLY PLLC

                                          By: /s/ Steven T. Mulligan
                                              Steven T. Mulligan, #19901
                                              Benjamin J. Ross, #49370
                                          1099 18th Street, Suite 2150
                                          Denver, CO 80202
                                          Tel: (303) 390-0003; Fax: (303) 390-0177
                                          smulligan@jacksonkelly.com
                                          Counsel for Debtor




 4820-1292-0688.v1                          2
